                     IN THE SUPREME COURT OF NORTH CAROLINA

                                         2021-NCSC-61

                                            No. 14A21

                                       Filed 11 June 2021

     IN RE INQUIRY CONCERNING A JUDGE, NOS. 19-136 &amp; 19-242



     C. RANDY POOL, Respondent


           This matter is before the Court pursuant to N.C.G.S. §§ 7A-376 and -377 upon

     a recommendation by the Judicial Standards Commission entered on 18 December

     2020 that Respondent C. Randy Pool, a Judge of the General Court of Justice, District

     Court Division, Judicial District 29A, be censured for conduct in violation of Canons

     1, 2A, 2B, 3A(4), and 3A(5) of the North Carolina Code of Judicial Conduct and for

     conduct prejudicial to the administration of justice that brings the judicial office into

     disrepute in violation of N.C.G.S. § 7A-376. This matter was calendared for argument

     in the Supreme Court on 27 April 2021 but determined on the record without briefs

     or oral argument pursuant to Rule 30(f) of the North Carolina Rules of Appellate

     Procedure and Rule 2(c) of the Rules for Supreme Court Review of Recommendations

     of the Judicial Standards Commission.


           No counsel for Judicial Standards Commission or Respondent.

                                     ORDER OF CENSURE

¶1         By the recommendation of the North Carolina Judicial Standards Commission

     (the Commission), the issue before this Court is whether Judge C. Randy Pool
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     (respondent) should be censured for violations of Canons 1, 2A, 2B, 3A(4), and 3A(5)

     of the North Carolina Code of Judicial Conduct, and pursuant to N.C.G.S. § 7A-376(b)

     for conduct prejudicial to the administration of justice that brings the judicial office

     into disrepute.

¶2         On 21 August 2019, the Commission filed a Statement of Charges against

     respondent alleging violations of Canons 1, 2A, and 2B.            On 7 October 2019,

     respondent filed his answer. On 19 March 2020, the Commission filed an Amended

     Statement of Charges that included new allegations, charging respondent with

     violations of Canons 1, 2A, 2B, 3A(4), and 3A(5) in the following manner:

                  (1) by engaging in sexual misconduct while serving as and
                  exploiting his position as Chief Judge of his judicial district
                  through a pattern of predatory sexual advances towards
                  numerous women in Respondent’s community, many of
                  whom were involved in matters pending in the district
                  where Respondent served as Chief Judge; (2) by
                  demonstrating a pattern of failing to diligently discharge
                  his judicial duties for the period from at least November
                  2016 until his retirement in November 2019; (3) by
                  misusing the prestige of his judicial office to solicit
                  assistance from local law enforcement relating to the
                  attempted extortion of Respondent[1] . . . ; (4) by making
                  material misrepresentations to law enforcement agents
                  during the investigation of [an] attempt to extort money
                  from Respondent; and (5) by making material
                  misrepresentations to the Commission during its
                  investigation into Inquiry No. 19-136.



           1  Respondent’s inappropriate electronic communications and exchange of nude
     photographs resulted in an extortion attempt by one woman, which led to an investigation
     by law enforcement agencies.
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¶3         On 9 November 2020, the Commission and respondent entered into a

     Stipulation Pursuant to Commission Rule 18 (the Stipulation).             The parties

     stipulated to the following findings of fact:

                  1.    Respondent was first appointed to the district court
                  in 1999 and served as the Chief Judge of District 29A from
                  2006 until his retirement effective December 1, 2019.

                  ....

                  3.     For the period beginning in 2016/2017 through June
                  2019, Respondent was an active user of the social media
                  platform Facebook (“FB”) and had a single FB account for
                  both personal and campaign purposes. Respondent ceased
                  the use of his FB account in or about June 2019.

                  4.     A review of Respondent’s Facebook activity for the
                  period from November 1, 2018 through May 9, 2019
                  establishes that: Respondent identified himself on his
                  Facebook page as the Chief District Court Judge located in
                  Marion, North Carolina; Respondent’s Facebook page was
                  public and open to anyone to see his posts and comments;
                  Respondent had thousands of “friends” on Facebook; and
                  Respondent was a very active user of Facebook, frequently
                  posting his own photos or comments or commenting on
                  posts of other Facebook users.

                  ....

                  6.     Although some of Respondent’s FB messages have
                  been deleted, a review of Respondent’s existing FB
                  messages during the period from November 2018 to May
                  2019 shows that Respondent, who is married, knowingly
                  and willfully initiated and engaged in conversations with
                  at least 35 different women that ranged from inappropriate
                  and flirtatious to sexually explicit.      In some cases,
                  Respondent and the female also had telephone
                  conversations, exchanged texts and had personal meetings
                  (including in some cases sexual encounters).
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              7.     Respondent knowingly and willfully engaged in FB
              conversations of a sexual nature with 12 women during the
              period from at least November 2018 through July
              2019[2] . . . .

              ....

              9.    In addition . . . , Respondent also made either
              inappropriate or flirtatious comments through FB
              messages to women who were required to appear or work
              in Respondent’s court in their professional capacities[.]

              ....

              11.    Respondent’s FB records from the period from
              November 2018 to May 2019 when compared to official
              reports of Respondent’s time on the bench show that
              Respondent engaged in extensive FB activity, including
              posts, comments and private messages, while Respondent
              was reported as being in court. Respondent’s FB records
              also establish that Respondent routinely sought to arrange
              personal meetings with women he contacted on FB either
              during breaks and recesses from court, before court
              convened or immediately after court adjourned. Court
              personnel assigned in Respondent’s courtroom in
              McDowell County regularly observed that Respondent was
              frequently on his cell phone while on the bench and would
              often “disappear” during recesses and lunch breaks, and
              that Respondent would often recuse in cases where the
              stated reason appeared to be very tenuous, and at other
              times would continue cases at such a high rate that it
              would make their jobs more difficult. While Respondent
              did not engage in any FB or other conversations on his cell
              phone at times when he was actively presiding in a case,

       2 While the parties stipulated to the fact that respondent stopped using his FB account

in or about June 2019, the stiplations indicate that one exchange included text messages that
were sent in July 2019. From November 2018 through May 2019, respondent communicated,
via Facebook, through inappropriate messages with at least sixteen additional women, often
seeking photographs of them or sharing photographs of himself. In addition, respondent had
ex parte discussions through Facebook regarding pending proceedings in his district.
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he did use his cell phone extensively during times on the
bench that did not require his direct attention.

....

26.    Prior to the incidents described herein that began in
or about 2017, Respondent had enjoyed a long and
distinguished career as a judge of his district for almost
twenty years. As Chief District Court Judge, Respondent
made a number of significant contributions to the
administration of justice during his 13 years in that
position. Upon being named Chief Judge, Respondent
immediately instituted a Continuance Policy for his district
that all judges followed and successfully eliminated
significant back log in his district. Respondent also created
a new Truancy Court for McDowell and Rutherford County
at least twelve years ago where he and his colleagues
volunteered their time after court to meet with parents,
grandparents and students to emphasize and encourage
students to stay in school, be present each day, and to work
hard to get a good education.

27. Respondent has also actively been engaged in his
community. . . .

28.   Other than as set forth herein, Respondent has
enjoyed a good reputation as a judge for being professional
and for diligently discharging his judicial duties while
presiding in court.

29.    Respondent has also undertaken significant efforts
to determine the cause of his sexual misconduct and to
address the problems in his personal life. . . . His primary
care physician conducted a physical examination in early
October 2020 and ordered an MRI, which showed mild
atrophy or shrinkage of the front and the left temporal
lobes of his brain. . . . [O]n or about October 20, 2020,
Respondent was evaluated by a physician . . . . That
evaluation resulted in a diagnosis of early stage
Frontotemporal Dementia, a disease which can manifest
itself through a lack of control of sexual impulses. . . .
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           Frontotemporal Dementia is also recognized as a
           progressive and terminal illness with a life expectancy of
           6–8 years after symptoms manifest . . . .

           ....

           31.    Respondent agrees that based upon the nature of his
           misconduct and his recent diagnosis of early signs of
           dementia, he will not seek a commission as an emergency
           judge or a retired recall judge, nor will he attend future
           judicial conferences or continuing judicial education (CJE)
           programs offered to judges of the State of North Carolina.

¶4   The parties further stipulated to the following Code and statutory violations:

           1.     Respondent acknowledges and agrees that the
           factual stipulations contained herein are sufficient to prove
           by clear and convincing evidence that he violated the
           following provisions of the North Carolina Code of Judicial
           Conduct:

                  a.     he failed to personally observe appropriate
                  standards of conduct to ensure that the integrity of
                  the judiciary is preserved in violation of Canon 1;

                  b.     he failed to conduct himself at all times in a
                  manner that promotes public confidence in the
                  integrity and impartiality of the judiciary in
                  violation of Canon 2A;

                  c.     he allowed his personal relationships . . . to
                  influence his official judgment and conduct, in
                  violation of Canon 2B;

                  d.     he abused the prestige of his judicial office in
                  seeking favors and influence in the handling of the
                  investigation by local law enforcement and the SBI
                  in violation of Canon 2B;

                  e.  he engaged in improper ex parte or other
                  communications concerning pending proceedings in
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                       violation of Canon 3A(4);

                       f.     his Facebook activity while in court and
                       consistent efforts to take breaks from court to meet
                       women interfered with his duty to diligently
                       discharge his judicial duties in violation of Canon
                       3A(5).

                 2.     Respondent further acknowledges and agrees that
                 the stipulations contained herein are sufficient to prove by
                 clear and convincing evidence that his actions constitute
                 willful misconduct in office and that he willfully engaged
                 in misconduct prejudicial to the administration of justice
                 which brought the judicial office into disrepute in violation
                 of N.C.[G.S.] § 7A-376.

¶5         On 13 November 2020, the Commission held a disciplinary hearing in this

     matter.

¶6         On 18 December 2020, the Commission filed its Recommendation of Judicial

     Discipline. The Commission made the following conclusions of law:

                 1.     Commission Counsel, Respondent and Counsel for
                 Respondent, all of whom executed the Stipulation, agreed
                 that the factual stipulations contained therein were
                 sufficient to prove by clear and convincing evidence that
                 Respondent had violated Canons 1, 2A, 2B, 3A(4) and 3A(5)
                 of the North Carolina Code of Judicial Conduct. . . . Upon
                 its independent review of the stipulated facts and the Code
                 of Judicial Conduct, the Commission agrees.

                 2.     Canon 1 of the Code of Judicial Conduct requires
                 that a judge must “participate in establishing,
                 maintaining, and enforcing, and should personally observe,
                 appropriate standards of conduct to ensure that the
                 integrity and independence of the judiciary shall be
                 preserved.” Canon 2A of the Code of Judicial Conduct
                 requires that a judge “should conduct himself/herself at all
                 times in a manner that promotes public confidence in the
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integrity and impartiality of the judiciary.”           The
Commission concludes that Respondent’s failure to
personally observe appropriate standards of conduct in and
out of the courtroom, his conduct in creating the perception
among local law enforcement that he wanted a favor in the
matter involving Ms. [T.], and his conduct in making
misleading statements to the SBI and the Commission
violated Canon 1 and Canon 2A.

3.     Canon 2B of the Code of Judicial Conduct provides
that a judge “should not lend the prestige of the judge’s
office to advance the private interest of others.” The
Commission concludes that Respondent violated Canon 2B
by using his office to assist various female litigants as
found in the Findings of Fact, including his conduct in
using his position as Chief Judge to direct a local attorney
to assist a litigant with whom Respondent was having a
sexual relationship and to otherwise use his office to assist
her in her divorce proceeding.

4.     Canon 3A(4) of the Code of Judicial Conduct
provides that “except as authorized by law, [a judge may]
neither knowingly initiate nor knowingly consider ex parte
or other communications concerning a pending
proceeding.” The Commission concludes that Respondent
violated Canon 3A(4) through his conversations with the
women as described herein relating to pending proceedings
in his district.

5.    Canon 3A(5) of the Code of Judicial Conduct
provides that a “judge should dispose promptly of the
business of the court.” The Commission concludes that the
Stipulation of Facts establishes that Respondent violated
Canon 3A(5) through his constant cell phone use on the
bench, frequent breaks to have conversations or physical
encounters with women he contacted through Facebook,
and frequent continuances and recusals (some of which
were created by his sexual misconduct).

6.    The Preamble to the Code of Judicial Conduct
provides that a “violation of this Code of Judicial Conduct
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may be deemed conduct prejudicial to the administration
of justice that brings the judicial office into disrepute, or
willful misconduct in office, or otherwise as grounds for
disciplinary proceedings pursuant to Article 30 of Chapter
7A of the General Statutes of North Carolina.” In addition,
Respondent has stipulated not only to his violations of the
Code of Judicial Conduct, but also to a finding that his
conduct amounted to conduct prejudicial to the
administration of justice and willful misconduct in
office. . . . The Commission in its independent review of the
stipulated facts and exhibits and the governing law also
concludes that Respondent’s conduct rises to the level of
conduct prejudicial to the administration of justice and
willful misconduct in office.

7.      The Supreme Court defined conduct prejudicial to
the administration of justice in In re Edens, 290 N.C. 299,
226 S.E.2d 5 (1976) as “conduct which a judge undertakes
in good faith but which nevertheless would appear to an
objective observer to be not only unjudicial conduct but
conduct prejudicial to the public esteem for the judicial
office.” Id. at 305, 226 S.E.2d at 9. As such, rather than
evaluate the motives of the judge, a finding of conduct
prejudicial to the administration of justice requires an
objective review of “the conduct itself, the results thereof,
and the impact such conduct might reasonably have upon
knowledgeable observers.” Id. at 306, 226 S.E.2d at 9(internal citations and quotations omitted). Respondent’s
objective conduct in initiating and engaging in
inappropriate conversations and relationships with women
through FB messages, the exchange of indecent
photographs, and his inappropriate comments to women
who appeared in his court either in their professional
capacities or as parties or witnesses, and the resulting
extortion attempt by Ms. [T.] based on his indecent
photographs, is without question conduct prejudicial to the
administration of justice that brings the judiciary into
disrepute.

8.    The Supreme Court in In re Edens defined willful
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                  misconduct in office as “improper and wrong conduct of a
                  judge acting in his official capacity done intentionally,
                  knowingly and, generally, in bad faith. It is more than a
                  mere error of judgment or an act of negligence. While the
                  term would encompass conduct involving moral turpitude,
                  dishonesty, or corruption, these elements need not
                  necessarily be present.” 290 N.C. at 305, 226 S.E.2d at 9.
                  The undisputed facts at issue in this matter establish that
                  Respondent’s conduct involved moral turpitude and
                  dishonesty with the SBI and the Commission during their
                  investigations in an effort to prevent the discovery of the
                  full extent of his sexual misconduct. As such, and despite
                  Respondent’s recent diagnosis of the early stages of
                  frontotemporal dementia on the eve of his disciplinary
                  hearing (a fact he noted during his clinical evaluation on
                  October 20, 2020), the Commission does not hesitate to
                  conclude that Respondent’s conduct between 2017 and
                  2019 was willful and renders him unfit to serve as a judge
                  of the State of North Carolina and that Respondent fully
                  understood that his conduct would justify disciplinary
                  action. By Respondent’s own admission to the SBI on May
                  16, 2019, his conduct with respect to Ms. [T.] alone was
                  “terrible” and could result in disciplinary action by the
                  Commission to include a recommendation of removal from
                  office and loss of his pension and that his preference was
                  that the Commission would not learn of his misconduct. . . .
                  The Commission thus concludes that Respondent also
                  engaged in willful misconduct in office.

     (Second alteration in original).

¶7         In addition to these conclusions of law, the Commission also considered the

     fact that respondent “is no longer a sitting judge of the State of North Carolina and

     has agreed that he will never serve in such capacity again,” that he “had served for

     approximately 18 years as a judge, and for over a decade as chief judge of District

     29A, without any disciplinary matters before the Commission,” that he “had
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     contributed to improvements to the administration of justice in his district,” and that

     he is in “the early stages of frontotemporal dementia.” Based on the conclusions of

     law and these mitigating factors, the Commission recommended that respondent be

     censured.

¶8         In reviewing recommendations from the Commission, the Supreme Court acts

     as a court of original jurisdiction rather than as an appellate court. In re Daisy, 359

     N.C. 622, 623, 614 S.E.2d 529, 530 (2005). Because this Court is not bound by the

     Commission’s recommendations, we must independently determine what, if any,

     disciplinary measures to impose on respondent. In re Stephenson, 354 N.C. 201, 205,

     552 S.E.2d 137, 139 (2001). “[I]n reviewing the Commission’s recommendations, this

     Court must first determine if the Commission’s findings of fact are adequately

     supported by clear and convincing evidence, and in turn, whether those findings

     support its conclusions of law.” In re Badgett, 362 N.C. 202, 207, 657 S.E.2d 346, 349
     (2008). An admission of facts in a stipulation is “binding in every sense, preventing

     the party who makes it from introducing evidence to dispute it, and relieving the

     opponent of the necessity of producing evidence to establish the admitted fact.” State

     v. McWilliams, 277 N.C. 680, 686, 178 S.E.2d 476, 480 (1971) (quoting Stansbury,

     North Carolina Evidence § 166 (2d ed. 1963)).

¶9         After a careful review of the record, we conclude that the Commission’s

     findings of fact are supported by clear and convincing evidence, and we find that the
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       Commission’s conclusions of law are supported by those facts. Therefore, we adopt

       the Commission’s conclusions of law. Furthermore, we agree with the Commission’s

       conclusion that respondent’s conduct amounts to willful misconduct in office and

       conduct prejudicial to the administration of justice which brings the judicial office

       into disrepute.   See In re Hair, 324 N.C. 324, 325, 377 S.E.2d 749, 750 (1989)

       (concluding that censure was appropriate because the respondent’s inappropriate

       sexual advances and comments were prejudicial to the administration of justice).

¶ 10         In addition, because respondent is no longer a sitting judge and has agreed not

       to serve as such, while taking into account respondent’s eighteen years of

       distinguished service as a judge and respondent’s expression of remorse, we agree

       that censure is appropriate. See id. at 325, 377 S.E.2d at 750 (concluding censure

       was appropriate where the respondent was a retired judge and had made no

       application to sit as an emergency district court judge); In re Peoples, 296 N.C. 109,

       146, 250 S.E.2d 890, 911 (1978) (stating that jurisdiction for purposes of judicial

       discipline is not lost upon a judge’s resignation).

¶ 11         The Supreme Court of North Carolina orders that respondent, C. Randy Pool,

       be CENSURED for conduct in violation of Canons 1, 2A, 2B, 3A(4), and 3A(5) of the

       North Carolina Code of Judicial Conduct, and pursuant to N.C.G.S. § 7A-376(b) for

       conduct prejudicial to the administration of justice that brings the judicial office into

       disrepute.
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      By order of the Court in Conference, this the 11th day of June 2021.


                                                       s/Berger, J.
                                                       For the Court

      WITNESS my hand and the seal of the Supreme Court of North Carolina, this

the 11th day of June 2021.


                                                       s/Amy L. Funderburk
                                                       AMY L. FUNDERBURK
                                                       Clerk of the Supreme Court

      Justice ERVIN did not participate in the consideration or decision of this case.
